Case 5:04-cr-80480-PJD-DAS ECF No. 213, PageID.1270 Filed 06/05/07 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

         Plaintiff,
v.

SAM SALLOUM,                                          Case No. 04-CR-80480-DT

         Defendant.                                   Honorable Patrick J. Duggan
                                        /

                                            ORDER

                        At a session of said Court, held in the U.S.
                      District Courthouse, City of Detroit, County of
                       Wayne, State of Michigan, on June 5, 2007.

                 PRESENT: THE HONORABLE PATRICK J. DUGGAN
                          U.S. DISTRICT COURT JUDGE

     Presently before the Court is Defendant’s Emergency Motion for Modification of

Amended Judgment in a Criminal Case. The motion requests that the Court amend the

Judgment imposed in this case on September 13, 2006, specifically requesting that the Court

amend the “Criminal Monetary Penalties” section of the Judgment to reflect a “total loss” of

between $1.00 and $9,999,00. The total loss as set forth in the original Judgment is

$396,000.00.

     Defendant’s motion must be denied. The Court has reviewed the Rule 11 Plea

Agreement and the Presentence Report and both documents clearly indicate that his

fraudulent conduct resulted in a financial loss to National City Bank of $396,000.00. The


                                              1
Case 5:04-cr-80480-PJD-DAS ECF No. 213, PageID.1271 Filed 06/05/07 Page 2 of 2




Rule 11 Plea Agreement which is, of course, in the Court files, specifically provides at

Paragraph C.4, “The fraudulent loan involving Sam Salloum resulted in financial losses of

$396,000.00.

     I am therefore unwilling to amend the Judgment in this case to reflect a total loss of

between $1.00 and $9,999.00 as requested in the attachment to the Defendant’s motion.

     For the reasons set forth above, Defendant’s Emergency Motion for Modification of

Amended Judgment in a Criminal Case is DENIED.

     SO ORDERED.

                                  s/PATRICK J. DUGGAN
                                  UNITED STATES DISTRICT JUDGE

Copies to:
Arthur Jay Weiss, Esq.
Cynthia J. Oberg, A.U.S.A.




                                            2
